 Case 2:15-cv-00768-JRG Document 27 Filed 02/26/16 Page 1 of 2 PageID #: 440




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

TANGELO IP, LLC,                                  §
                                                  §
       Plaintiff,                                 §      Civil Action No. 2:15-cv-00770-JRG
                                                  §                 LEAD CASE
V.                                                §
                                                  §
L BRANDS, INC., ET AL.,                           §          JURY TRIAL DEMANDED
                                                  §
       Defendants.                                §
                                                  §
TARGET CORPORATION                                §
                                                         Civil Action No. 2:15-cv-00768-JRG
                                                  §
       Defendant.                                 §

                        ORDER OF DISMISSAL WITH PREJUDICE

       CAME ON THIS DAY for consideration of the Stipulated Motion for Dismissal With

Prejudice of all claims asserted between Plaintiff, Tangelo IP, LLC, and Defendant, Target

Corporation (Dkt. No. 83), in this case, and the Court being of the opinion that said motion

should be GRANTED, it is hereby

       ORDERED that all claims asserted in this suit between Plaintiff, Tangelo IP, LLC, and

Defendant, Target Corporation, are hereby dismissed with prejudice.

       It is further ORDERED that all attorneys’ fees and costs are to be borne by the party

that incurred them.

       The Clerk is ORDERED to terminate Target Corporation in lead case 2:15-cv-770. The

Clerk is directed to CLOSE member case 2:15-cv-768. Any and all motions between Plaintiff and

Target Corporation in this lead case or member case which are presently unresolved are hereby

DENIED as MOOT.
Case 2:15-cv-00768-JRG Document 27 Filed 02/26/16 Page 2 of 2 PageID #: 441




 SIGNED this 19th day of December, 2011.
So ORDERED and SIGNED this 26th day of February, 2016.




                                          ____________________________________
                                          RODNEY GILSTRAP
                                          UNITED STATES DISTRICT JUDGE




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